                                                       IT IS ORDERED
                                                       Date Entered on Docket: June 10, 2019




                                                       ________________________________
                                                       The Honorable David T. Thuma
                                                       United States Bankruptcy Judge
______________________________________________________________________
                           UNITED STATES BANKRUPTCY COURT

                                 DISTRICT OF NEW MEXICO

  In Re:
  LAS UVAS VALLEY DAIRIES,
  a New Mexico General partnership
         Debtor                                                 Case No. 17-12356-t11

        ____________________________________________________________________

  ROBERT MARCUS, not individually but solely in his
  capacity as the LIQUIDATING TRUSTEE OF THE
  LAS UVAS VALLEY DAIRIES LIQUIDATING
  TRUST,
         Plaintiff

         v.                                                 Adversary 19-1009t

  LAS UVAS VALLEY DAIRIES, DEAN
  HORTON, FRANCES HORTON, LOREN
  HORTON and MITCH HORTON
       Defendants

                                            ORDER

         This matter came before the Court for Preliminary hearing on June 3, 2019 upon the

  Plaintiff’s Opposed Motion to Strike Answer to Complaint and Disqualify Daniel J. Behles and




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Askew & Mazel, LLC as Counsel to the Debtor, (Doc. #19), the Response thereto filed by the

Debtor, Las Uvas Valley Dairies, LLC (Doc. #33), and the Reply in Support of the Opposed

Motion to Strike Answer to Complaint and Disqualify Daniel J. Behles and Askew & Mazel, LLC

as Counsel to the Debtor (Doc. #37).

       IT IS HEREBY ORDERED that the Plaintiff’s Motion to Strike and Disqualify (Docket

#19) is DENIED.

                                       * * * End of Order * * *

Prepared and submitted by:

Askew & Mazel, LLC
Counsel for the Debtor

By: /S/ electronically filed
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Approved:

SAUL EWING ARNSTEIN & LEHR LLP
Counsel for the Liquidating Trustee

By: Approved by email 6/6/19 (DJB)
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